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 11
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 12 REWARD ZONE USA LLC
 13
                                UNITED STATES DISTRICT COURT
 14
                               CENTRAL DISTRICT OF CALIFORNIA
 15
 16
    LUCINE TRIM, individually and on           Case No.: 2:20-cv-01027-SVW-KS
 17 behalf of all others similarly situated,
                                               STIPULATION TO STAY
 18
                  Plaintiffs,
 19
 20             v.
 21 REWARD ZONE USA LLC; DOES 1-
    10 Inclusive,
 22
 23              Defendant.
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                                                            Case No.: 2:20-cv-01027-SVW-KS
       SMRH:4871-1713-7182.1                                       STIPULATION TO STAY
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   1            Under Local Rule 7-1, plaintiff Lucine Trim (“Plaintiff”) and defendant
   2 Reward Zone USA LLC (“Defendant”), by and through their respective counsel,
   3 hereby STIPULATE as follows:
   4            WHEREAS, on January 28, 2022, the Court issued an Order granting
   5 Defendant’s Motion to Dismiss the Third Amended Complaint, dismissing
   6 Plaintiff’s first and second causes of action with prejudice and dismissing Plaintiff’s
   7 third and fourth causes of action without prejudice and with leave to amend;
   8            WHEREAS, on February 11, 2022, Plaintiff filed a Fourth Amended
   9 Complaint, which Defendant answered on February 25, 2022;
 10             WHEREAS, on February 25, 2022, Plaintiff filed an Unopposed Motion for
 11 Entry of Judgment pursuant to Fed. R. Civ. P. 54(b) on Plaintiff’s first and second
 12 claims as alleged in the Third Amended Complaint which were dismissed by the
 13 Court’s January 28, 2022 Order;
 14             WHEREAS, on April 28, 2022, the Court granted Plaintiff’s Unopposed
 15 Motion and entered judgment for Defendant as to Plaintiff’s first and second claims
 16 as alleged in the Third Amended Complaint (the “Judgment”);
 17             WHEREAS, Plaintiff intends to file a timely notice of appeal of the Judgment
 18 with the United States Court of Appeals for the Ninth Circuit;
 19             WHEREAS, the Court directed the parties to file a stipulation to stay this case
 20 for the duration of Plaintiff’s appeal.
 21             NOW, THEREFORE, the Parties hereby stipulate and agree that this case
 22 should be stayed pending resolution of Plaintiff’s appeal of the Judgment by the
 23 United States Court of Appeals for the Ninth Circuit.
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       SMRH:4871-1713-7182.1                                                STIPULATION TO STAY
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   1 Dated: May 4, 2022
   2
                                 By:                 /s/ Jay T. Ramsey
   3                                                 JAY T. RAMSEY
   4                                              Attorneys for Defendant
                                                  Reward Zone USA, LLC
   5
   6 Dated: May 4, 2022          By:
                                                   /s/ Todd M. Friedman
   7                                              TODD M. FRIEDMAN
   8                                               Attorneys for Plaintiff
                                                        Lucine Trim
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       SMRH:4871-1713-7182.1                                      STIPULATION TO STAY
